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                        Exhibit 3
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      Dubai Courts                 Smart Judgments                      Government of Dubai

      In application No. 125/2023/500


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                                                                                            SVM-58531 /2023




                         In the name of Allah, the All and Ever Merciful
                On behalf of H.H. Sheikh Mohammed Bin Rashid Al Maktoum
                                        Governor of Dubai
                                         Court of Cassation
                   On the Hearing held on Tuesday, dated December 05, 2023
                           At the premises of Dubai Court of Cassation
          Headed by judge/                   Salem Obeid Othman                           Chief Justice
       And Membered by Judge/             Omar Younis Saeid Gaarour                      Circuit Member
              Judge/            Mohammed Abdul Nabi Mohammed Hassan Al-Assiouti          Circuit Member
              Judge/                       Tarek Yacoub Al-Khayyat                       Circuit Member
            And Judge/                Walid Rabei Abdul Rahim Al-Sedawy                  Circuit Member



       In Application No. 125 of 2023, Cassation Order/Judgment Reverse Application
        Whereby requesting to reverse the Order/Judgment rendered on May 16, 2023
          In Appeal-in-Cassation No. 1488 of 2022 – Commercial Appeal-in-Cassation
      Applicant: Sanjay Shah
      Applicant: Usha Shah
      Applicant: Ganymede Cayman Ltd.



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      In application No. 125/2023/500


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                             Court hereby rendered the following
      Upon viewing papers, documents and conducting deliberations.

      Whereas the Application fulfils its requirements in form.

      Whereas the facts of the Application are as follows:

         -   On 30.10.2023, Applicants submitted the present Application, whereby
             requesting to reverse the Judgment rendered on 16.05.2023 in Appeal-in-
             Cassation No. 1488 of 2022 – Commercial to dismiss the same;
         -   Whereas Applicants based their request on the claim that the Judgment is
             rendered I misapplication of the Law, with flaws in reasoning, deficiency in
             causation, violation of the facts established in documents, as well as the
             violation of defense right
         -   Whereas the Judgment adopted the Report filed by the tasked Expert
             Committee, which is deemed invalid for being issued by a committee of no
             technical expertise in taxes, its collection and discount, and the sale and
             purchase of shares in the Danish stock exchange, where the Committee relied
             on unauthorized documents submitted by the Respondent, issued by the
             Danish Financial Supervisory Authority (FSA), the legal counselor of the
             Danish Government, the Danish Deputy Public Prosecutor and the Police
             Authority, in establishment of the financial remittances conducted between
             Applicants and the companies claimed by Experts to be owned by the
             Applicants
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      In application No. 125/2023/500


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         -   Whereas the Expert Committee claimed that the said documents are
             “sovereign documents”, with no elaboration on the meaning of such term,
             where no diplomatic action is taken to verify the same, neither are they
             received from any approved diplomatic bodies.
         -   Further, the tasked Expert Committee relied on a selection of unauthorized
             articles of the Danish Tax Law, without verifying the same in terms of validity
             and effectiveness.
         -   In addition, no statement is made as to whether the reimbursement
             procedures are valid in accordance with the Danish Law.
         -   Furthermore, the Expert Committee relied, in its conclusion, on papers and
             documents fabricated by the Respondent, and the Consultancy Report
             delivered thereby, issued by Deloitte, notwithstanding their objection against
             such Report due to the invalidity of the information stated therein, which
             resulting in First & Second Applicants being charged with the debts and
             obligations of companies having financial liabilities that are independent from
             those of their owners, managers and directors. All of this while the Expert
             Committee failed to prove, in its Report, that they have committed any
             actions, misconduct, or violations in their personal capacities
         -   Whereas Court of Appeal also disregarded the request made by Applicants to
             open pleas, along with the documents accompanying such request, which
             could have changed that conclusion of the Case
         -   Nevertheless, the trial Court approved the insufficient Expert Committee
             Report, with the Court of Cassation adopting the same, while disregarding all
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      In application No. 125/2023/500


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             aspects of their defense, which renders the Judgment reversible, in application
             of the provisions of Article 190.c of the Civil Procedure Code

      Whereas the foregoing argument is misplaced, due to the following:

         x   Articles 185, 189 & 190 of Federal Law No. 42 of 2022 on Civil Procedures
             state that, as an exclusion of the general rule that no final judgments rendered
             by Court of Cassation may be challenged, with the exception of such
             judgments rendered on the original dispute by way of petition for
             reconsideration in some specific cases, where the order rendered by Court of
             Cassation within the Chambers, or its final judgment, may be reversed,
             whether at its own accord or based on a motion submitted by the
             order/judgment debtor, in any of the following cases:
                 a) …
                 b) …
                 c) If any such order/judgment is rendered in violation of any of the
                     judicial principles established by the panel, or jointly by Court circuits,
                     as applicable, without presenting the same thereto, or if the same is
                     rendered in violation of the principles established by the Court, or
                     those issued by The Commission for the Unification of Federal and
                     Local Judicial Principles
         x Whereas all the grounds and legal principles stated by Applicants have been
             addressed by previous judgments in similar subject matters where the present
             judgment does not deviate therefrom
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      In application No. 125/2023/500


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         x   Whereas all the arguments stated in the Application are merely assessments
             on the merits, but not legal assessments, with an aim to reach a different
             conclusion than the one reached by the judgment, which investigated,
             addressed and responded to their defenses, as established in documents and
             report of the said judgment
         x   This renders the present Application in deviation from the cases for
             judgement reversal, as stated exclusively under Article 190 of the Civil
             Procedure Law, which renders the Application dismissible, while confiscating
             the security amount
                                        Now, Therefore
      While convening in chambers, Court hereby renders to dismiss the Application,
      while confiscating the security amount


                                          Signature
                                 Judge/ Salem Obeid Othman




                                    CSC500-CY2023-CSN 125,-DJ 159
                     Signature                                      Signature

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      In application No. 125/2023/500


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        Judge/ Omar Younis Saeid Gaarour               Judge/ Mohammed Abdul Nabi
                                                       Mohammed Hassan Al-Assiouti



               CSC500-CY2023-CSN 125-DJ1755
                                                           CSC500-CY2023-CSN125-DJl2709
                    Signature                                    Signature
         Judge/ Tarek Yacoub Al-Khayyat             Judge/ Walid Rabei Abdul Rahim Al-
                                                                  Sedawy



              CSC500-CY2023-CSN 125-DJ 12104
                                                           CSC500-CY2023-CSN125-DJ l2984




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